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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                )
Peter Bepler, et al.                            )
                                                )
                Plaintiffs.                     )
                                                ) Civil No. 1:17-cv-01876
        v.                                      )
                                                )
Daniel Matthew Vorobek, et al.,                 )
                                                )
                Defendants.                     )

                                CERTIFICATE RULE LCvR 7.1

        Pursuant to Fed. R. Civ. P. 7.1 and Local Rules 7.1 and 26.1, I, the undersigned, counsel

of record for Anybill Financial Services, Inc., certify that to the best of my knowledge and belief,

there are no parent companies, subsidiaries, affiliates, or other companies that own at least 10%

of the stock of Anybill Financial Services, Inc. These representations are made in order that

judges of this Court may determine the need for recusal.



Washington, DC                                Respectfully submitted,
Dated: September 13, 2017

                                              By: /s/ Kenneth J. Pfaehler
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                                      CERTIFICATE OF SERVICE

            I certify that a copy of the foregoing was served by hand delivery this 13th day of

September, 2017 on:

                                  Richard P. Goldberg, Esq.
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                                   /s/ Kenneth J. Pfaehler
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